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TIMEE_____”’_"`/ ______' "
UN|TED STATES OF AMER|CA,
lNITiALS: §
Plaintiff,
v- cr. Na. 05 -ao 7-5/1/
cavie.\c. L'>EDOIG ,
Defendant.
ORDER ON ARRA|GNMENT
This cause came to be heard on QS"IZ , 2005. The Assistant United States

Attorney appeared on behalf of the government, and the defendant appeared in person and with the
following counsel, who is retained/appointed:

____

NAME; UNU\! M.DE|~J
ADDRESS:

 

 

TELEPHONE.‘

 

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause shown
to a District Judge, such period is extended.

The defendant, who is not in custody, may stand on his/her present bond.

l/The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

<Q./HW, LL_

United States Magistrate Judge

Charges: J:ELDU ]U 19055555|0&) OF A' F]}"-EA-|UV\
Assistant U.S. Attorney assigned to case: wm$

The defendants age is: go .

This document entered on the docket heet in compliance
with Rule 55 and/or sz(b> rach on / fc?"

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CR-20037 Was distributed by faX, mail, or direct printing on
August 19, 2005 to the parties listed.

 

 

PDA

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Honorable J. Breen
US DISTRICT COURT

